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                                   Exhibit “B”
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                                                                                          About Blue Sky Capital LLC

                                    Blue Sky Capital is a real estate investment company founded by Brent Freeze in 2012, based out
                                    of Albuquerque, New Mexico. We specialize in all aspects of judicial foreclosure sales including
                                    acquisition of redemption rights, short sales, and trustee sales.

                                    Blue Sky has invested in all types of real estate in nearly every market in New Mexico. We strive
                                    to provide the most professional and knowledgeable service, and have over 20 years of
                                    experience in the NM real estate industry.




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